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 1                                                                    The Hon. Richard A. Jones
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 3
 4
 5                         UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF WASHINGTON
 6
                                       AT SEATTLE
 7
 8    UNITED STATES OF AMERICA,                           No. CR18-132-RAJ
 9                            Plaintiff,
10                       v.
                                                          FINAL ORDER OF FORFEITURE
11
12    JOHNNY DAVIS,
13                            Defendant.
14
15
16          THIS MATTER comes before the Court on the United States’ Motion for Entry of
17 a Final Order of Forfeiture for the following property:
18          • $8,175 in U.S. currency, seized from Defendant Johnny Davis on or about June
19              6, 2018, from a residence in Kent, Washington.
20          The Court, having reviewed the United States’ motion, as well as the other
21 pleadings and papers filed in this matter, HEREBY FINDS that entry of a Final Order of
22 Forfeiture is appropriate for the following reasons:
23          • In the plea agreement that Defendant Davis entered on July 3, 2019, he agreed
24              to forfeit his interest in the above-listed property as proceeds of Conspiracy to
25              Distribute Controlled Substances, in violation of 21 U.S.C. §§ 841(a)(1),
26              (b)(1)(B) and 846, to which he entered a guilty plea (Dkt. No. 558, ¶ 6);
27
28

     Final Order of Forfeiture - 1                                       UNITED STATES ATTORNEY
                                                                        700 STEWART STREET, SUITE 5220
     United States v. Davis, CR18-132-RAJ
                                                                          SEATTLE, WASHINGTON 98101
                                                                                (206) 553-7970
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 1          • On December 5, 2019, the Court entered a Preliminary Order of Forfeiture
 2               finding the above-listed property forfeitable pursuant to 21 U.S.C. § 853(a) and
 3               forfeiting the Defendant’s interest in the property (Dkt. No. 712);
 4          • Thereafter, the United States published notice of the pending forfeiture as
 5               required by 21 U.S.C. § 853(n)(1) and Federal Rule of Criminal Procedure
 6               (“Fed. R. Crim. P.”) 32.2(b)(6)(C) (Dkt. No. 729), and also provided direct
 7               notice to a potential claimant as required by Fed. R. Crim. P. 32.2(b)(6)(A)
 8               (Declaration of Assistant U.S. Attorney Krista K. Bush in Support of Motion
 9               for Entry of a Final Order of Forfeiture, ¶ 2, Exhibit A); and
10          • The time for filing third-party petitions has expired, and none were filed.
11
12 NOW, THEREFORE, THE COURT ORDERS:
13          1.      No right, title, or interest in the above-listed property exists in any party
14 other than the United States;
15          2.      The property is fully and finally condemned and forfeited, in its entirety, to
16 the United States; and
17          3.      The United States Department of Justice, and/or its representatives, are
18 authorized to dispose of the property in accordance with the law.
19
20          IT IS SO ORDERED.
21
22          DATED this 29th day of January, 2021.
23
24                                                       A
25                                                       The Honorable Richard A. Jones
                                                         United States District Judge
26
27
28

     Final Order of Forfeiture - 2                                         UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     United States v. Davis, CR18-132-RAJ
                                                                            SEATTLE, WASHINGTON 98101
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